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                                                    Time periods shall be calculated by the hour, the day, the month and the year. The
                                                    hour and day from which a time period begins shall not be counted as within the
                                                    time period.

                                                    If the expiration date of a time period falls on a holiday, then the day immediately
                                                    following the holiday shall be regarded as the expiration date.

                                                    A time period shall not include traveling time. A litigation document that is mailed
                                                    before a deadline shall not be regarded as overdue.

                                                    Article 76. If a party fails to meet a deadline due to force majeure or for other
                                                    justified reasons, he may apply for an extension of the time limit within 10 days after
                                                    the obstacle is removed. The requested extension shall be subject to approval by a
                                                    people's court.

                                                    SECTION 2 SERVICE

                                                    Article 77. A receipt shall be required for every litigation document that is served
                                                    and it shall bear the signature or seal of the recipient of the service and the date of
                                                    receipt.

                                                    The date of receipt as signed by the recipient of the service shall be regarded as
                                                    the date the document is served.

                                                    Article 78. Litigation documents shall be served directly on the recipient of the
                                                    service. If the recipient of the service is a citizen, the documents shall, in the case of
                                                    his absence, be receipted by an adult member of his family living with him. If the
                                                    recipient of the service is a legal person or any other organization, the document
                                                    shall be receipted by the legal representatives of the legal person or the principle
                                                    leading personnel of any other organization or the personnel of the legal person or
                                                    any other organization in charge of receiving such documents; If the recipient of the
                                                    service has an agent ad litem, the documents may be receipted by the agent ad
                                                    litem. If the recipient of the service has designated an agent to receive his litigation
                                                    documents and has informed the people's court of it, the documents may be
                                                    receipted by the agent.

                                                    The date of receipt as signed by the adult family member living with the recipient of
                                                    service, or persons in charge of receiving documents of legal persons or other
                                                    organizations, or agents ad litem, or agents designated to receive his documents
                                                    shall be regarded as the date the document is served.

                                                    Article 79. If the recipient of the service of a litigation document or the adult family
                                                    member living with him refuses to accept a legal document, the person serving the
                                                    document shall ask representatives from the relevant grassroots organization or the
                                                    unit to which the recipient of the service belongs to appear on the scene, explain
                                                    the situation to them, and record on the receipt the particulars of the refusal and the
                                                    date of it. After the person serving the document and the witnesses have affixed
                                                    their signatures or seals to the receipt, the document shall be left at the place where
                                                    the recipient of the service stays and the service shall be considered completed.

                                                    Article 80. If direct service of a litigation document proves difficult, service of the
                                                    document may be entrusted to another people's court, or it may be served by post.
                                                    If a document is served by post, the date as stated on the receipt shall be regarded
                                                    as the date the document is served.

                                                    Article 81. If the recipient of the service is in the military, the document shall be
                                                    forwarded to him by the political organ at or above the regimental level in the unit to
                                                    which he belongs.

                                                    Article 82. If the recipient of the service is undergoing imprisonment, the document
                                                    shall be forwarded to him by the prison or unit of reform through labour where he is
                                                    serving his term.

                                                    If the recipient of the service is undergoing rehabilitation through labour, the




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